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CLAIM FOR DAMAGE INSTRUCTIONS: Please read carefully the instructions on the
, reverse side and supply information requested on both sides ofthis | OMB NO. 1105-0008

INJ URY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.

1. Submit to Appropriate Federal Agency: 2. Name, address of claimant, and claimant's personal representative If any.
(See instructions on reverse). Number, Street, City, Stafe and Zip code.

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3. TYPE OF EMPLOYMENT 4, DATE OF BIRTH 5. MARITAL STATUS 6. DATE AND DAY OF ACCIDENT 7, TIME @OM7ZOR P.M.)

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8, BASIS OF CLAIM (State In detail the known facts and circumstances attending the damage, injury, or death, identifying persons and property Involved, the place of occurrence and
the cause thereof. Use additional pages if necessary). EC vaAv ‘and CONCER (men oe Aea le risks

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9, PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code),

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BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF THE DAMAGE AND THE LOCATION OF WHERE THE PROPERTY MAY BE INSPECTED.
(See Instructions on reverse side).

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PERSONAL INJURYWRONGFUL DEATH

10.
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM, “A a THAN CLAIMANT, STATE THE NAME

OF THE INJURED PERSON OR DECEDENT. Js th 1 et AM Mens / Oth Ja LA o 4

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WITNESSES

NAME ADDRESS (Number, Street, City, State, and Zip Code) oo

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AMOUNT OF CLAIM (in dollars)

12, (See Instructions on reverse).
12a, PROPERTY DAMAGE 12b. PERSONAL INJURY 12c. WRONGFUL DEATH 12d. TOTAL (Failure to specify may cause
forfeiture of your rights).

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I CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM.

13b. PHONE NUMBER OF PERSON SIGNING FORM /14. LE iy

13a. SIGNATURI IMANT @ instructions on reverse side).
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GiViIL PENALTY FOR PRESENTING CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The clalmant Is liable to the United States Govemment for a civil penalty of not less than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C, 3728).

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95-109 Case 2:25-cv-00010 Document1 Filed 02/14/25 Page 9 of 14 Pagel #: 9

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CLAIM FOR DAMAGE INSTRUCTIONS: Please read carefully the instructions on the
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INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.

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9.
NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, State, and Zip Code).

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(See Instructions on reverse side).

10. - PERSONAL INJURYMWRONGFUL DEATH . - .
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AMOUNT OF CLAIM (in dollars)

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| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN
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13b. PHONE NUMBER OF PERSON SIGNING FORM /14. DATE OF Had ,

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CRIMINAL PENALTY FOR PRESENTING FRAUDULENT

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CLAIM OR MAKING FALSE STATEMENTS

FRAUDULENT CLAIM

The clalmant Is lable to the United States Government for a civil penalty of not fess than Fine, imprisonment, or both. (See 18 U.S.C. 287, 1001.)

$5,000 and not more than $10,000, plus 3 times the amount of damages sustalned
by the Government. (See 31 U.S.C, 3729).

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; reverse side and supply information requested on both sides of this OMB NO. 1105-0008
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for
additional instructions.

2. Name, address of claimant, and claimant's personal representative if any.

4. Submit to Appropriate Federal Agency:
(See a on revegse). Number, Street, City, State and Zip code.
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(See Instructions on reverse side).

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10, PERSONAL INJURY/WRONGFUL DEATH
STATE THE NATURE AND EXTENT OF EACH INJURY OR CAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE THE NAME
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13b. PHONE NUMBER OF PERSON SIGNING FORM [14. DATE OF SIGNATURE

= gE re Instructions on reverse side). nD IPIFFZ-5LPGIP 2 202

CRIMINAL PENALTY FOR PRESENTING FRAUDULENT
CLAIM OR MAKING FALSE STATEMENTS

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FRAUDULENT CLAIM

The claimant Is llable to the United States Government for a civil penalty of not fess than Fine, Imprisonment, or both. (See 18 U.S.C. 287, 1001.)

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95-109 Case 2:25-cv-00010 Documenti Filed 02/14/25 Page 11 of 14Pagdid #: 11

INSURANCE COVERAGE

In order that subragation claims may b

e adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle ar property.

45, Do you carry accident Insurance? C] Yes

J) OAC

If yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. [7 No

46. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

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17. If deductible, state amount.

J7 OWE

[| Yes [ZT No

48. (fa claim has been filed with your carrler, what action has your Insurer ta

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ken or proposed to take with reference to your claim? (It ls necessary that you ascertain these facts).

49. Do you carry public lability and property damage insurance? TC] Yes

J) OWE.

Ifyes, give name and address of Insurance carrier (Number, Street, City, State, and Zip Code). [FT No

INSTRUCTIONS

Claims presen

ted under the Federal Tort Claims Act should be submitted directly to the "appropriate Federal agency" whose

employee(s) was involved in the Incident. If the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all items - Insert the word NONE where applicable.

ACLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 85 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Fallure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your claim Invalid. Actaim
is deemed presented when It {s received by the appropriate agency, not when It Is
malled.

If instruction Is needed In completing this form, the agency listed in Item #1 on the reverse
side may be contacted. Complete regulations pertaining to clalms asserted under the
Federal Tort Claims Act can be found In Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency is
Invoived, please state each agency.

The clalm may be filled by a duly authorized agent or other legal representative, provided
evidence sallsfactory to the Govemment Is submitted with the claim establishing express
authority to act for the clalmant. A clalm presented by an agent or legal representative
must be presented In the name of the claimant. If the claim fs signed by the agent or
legal representative, it must show the title or fegal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the claimant
as agent, executor, administrator, parent, guardian or other representative.

If claimant intends to file for both personal injury and property damage, the amount for
each must be shown In ftem number 12 of this form.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT.
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES.

The amount claimed should be substantiated by competent evidence as follows:

(a) in’support of the claim for personal injury or death, the claimant should submit a
written report by the attending physician, showing the nature and extent of the Injury, the
nature and extent of treatment, the degree of permanent disabiilty, if any, the prognosis,
and the period of hospitalization, or incapacitation, attaching Itemized bills for medical,
hospital, or burlal expenses actually Incurred. . oo

(b) In support of claims for damage fo property, which has been or can be economically -
repaired, the clalmant should submit at least two itemized signed statements or estimates
by reliable, disinterested concerns, or, If payment has been made, the itemized signed
recelpts evidencing payment.

(c) In support of clalms for damage to property which Is not economically repalrable, or If
the property Is lost or destroyed, the claimant should submit statements as fo the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accldant. Such statements should be by disinterested competent persons,
preferably reputable dealers or officials famillar with the type of property damaged, or by
two of more competitive bldders, and should be certified as being just and correct.

(a) Failure to specify a sum certain will render your clatm Invalid and may result In
forfeiture of your rights.

PRIVACY ACT NOTICE

This Notice Is provided in accordance with the Privacy Act, 5 U.S.C. 552a(e)(3), and
concems the Information requested In the letter to which this Notice is attached.
A. Authority; The requested information is solicited pursuant to one or more of the
following: 5 U.S.C, 301, 28 U.S.C. 501 et seq., 28 U.S.C, 2671 et seq., 28 C.F.R.

Part 14.

B. Principal Purpose: The information requested Is to be used In evaluating claims.

C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this information. 4

D. Effect of Failure to Respond: Disclosure Is voluntary. However, faiture to supply the
requested Information or to execute the form may render your clalm "Invalid."

PAPERWORK REDUCTION ACT NOTICE

This notice fs solely for the purpose of the Paperwork Reductlon Act, 44 U.S.C. 3501. P
response, including the time for reviewing Instructions, searching existing dala sources,
information, Send comments regarding this burden estimate or any other aspect o'

ublic reporting burden for this collection of Information Is estimated to average 6 hours per
gathering and maintaining the data needed, and completing and reviewing the collection of
f thls collection of Information, Including suggestions for reducing this burden, fo the Director, Torts

Branch, Attentlon: Paperwork Reduction Staff, Civil Division, U.S. Department of Justice, Washington, DC 20530 or to the Office of Management and Budget. Do not mall completed

form(s) to these addresses,

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INSURANCE COVERAGE

In order that subrogation claims may be adjudicated, it is essential that the claimant provide the following information regarding the insurance coverage of the vehicle or property.

45. Do you carry accident Insurance? [| Yes

AODKE

if yes, give name and address of insurance company (Number, Street, City, State, and Zip Code) and policy number. Be No

146. Have you filed a claim with your insurance carrier in this instance, and if so, is it full coverage or deductible?

Nohe

NZ} No | 17. ifdeductible, state amount.

[| Yes
J\ONZ.

48, If a claim has been filed with your carrer,

AONE

what action has your insurer taken or proposed to take with reference to your clalm? (It is necessary that you ascertain these facls).

19. Do you carry public liability and property damage insurance? [| Yes if yes, give name and address of insurance carrler (Number, Street, City, State, and Zip Code). [Je} No

DLAC

INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency" whose
employee(s) was Involved in the incident. If the incident involves more than one claimant, each claimant should submit a separate

claim form.

Complete all items - Insert the word NONE where applicable.

ACLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROM A CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 85 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Fallure to completely execute this form or to supply the requested material within
two years from the date the claim accrued may render your clalm Invaild. A claim
is deemed presented when it Is recelved by the appropriate agency, not when it fs
mailed.

If Instruction Is needed In completing this form, the agency listed in item #1 on the reverse
glide may be contacted. Complete regulations perlaining to claims asserted under the
Federal Tort Claims Act can be found In Title 28, Code of Federal Regulations, Part 14,
Many agencies have published supplementing regulations. If more than one agency Is
Involved, please state each agency.

The claim may be fillad by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government fs submitted with the clalm establishing express
authority to act for the claimant. A claim presented by an agent or tegat representative
must be presented In the name of the claimant. If the claim fs signed by the agent or
legal representative, it must show the title or legal capacity of the person signing and be
accompanied by evidence of his/her authority to present a claim on behalf of the clalmant
as agent, executor, administrator, parent, guardian or other representative.

If clalmant intends to file for both personal Injury and property damage, the amount for
each must be shown In Item number 12 of this form.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INCIDENT. |
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES,

The amount claimed should be substantiated by competent evidence as follows:

(a) in support of the claim for personal injury or death, the clalmant should submit a
wtitten report by the attending physician, showing the nature and extent of the Injury, the
nature and extent of treatment, the degree of permanent disability, if any, the prognosis,
and the period of hospitalization, or incapacitatlon, attaching Itemized bills for medical,
hospital, or burial expenses actually Incurred. .

(b) in support of clalms for damage to property, which has been or can be economically
repaired, the clalmant should submit at feast two Itemized signed statements or estimates
by rellable, disinterested concerns, or, If payment has bean made, the itemized signed
receipts evidencing payment.

(c) In support of clalms for damage fo property which is not economically repalrable, or If
the property is lost or destroyed, the clalmant should submit statements as to the original
cost of the property, the date of purchase, and the value of the property, both before and
after the accident. Such statements should he by disinterested competent persons,
preferably reputable dealers or officials familar with the type of property damaged, or by
two or more competitive bidders, and should be certified as being Just and correct.

(d) Fallure to specify a sum certain will render your clalm invalid and may result In
forfeiture of your rights.

PRIVACY ACT NOTICE

This Notice ts provided in accordance with the Privacy Act, 5 U.S.C. §52a(e)(3), and

concems the Information requested In the letter to which this Notice is attached.

A, Authority: The requested Information is solicited pursuant to one or more of the
following: § U.S.C, 301, 28 U.S.C. 501 et seq., 28 U.S.C, 2671 et seq., 28 C.F.R.

Part 14.

B. Principal Purpose: The Information requested {s to be used tn evaluating claims.

C. Routine Use: See the Notices of Systems of Records for the agency to whom you are
submitting this form for this Information.

D. Effect of Failure to Respond: Disclosure Is voluntary. However, failure to supply the
requested Information or to execute the form may render your claim "Invalid."

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SD ONL

17. If deductible, state amount.

[_] Yes [#4 No
JL OF A22_ |

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the property Is lost or destroyed, the claimant should submit statements as to the original’
cost of the property, fhe date of purchase, and the value of the property, both before and
after the accident. Such statements should be by disinterested competent persons,
preferably reputable dealers ar offictals familiar with the type of property damaged, or by
two of more competitive bidders, and should be certifled as being just and correct.

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